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                            IN THE UNITED STATES DISTRICT COURT

                            FOR THE SOUTHERN DISTRICT OF TEXAS

                                       HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
V.                                                § CRIMINAL NO. H-21-466
                                                  §
VICTOR HERNANDEZ-PEREZ                            §

                                     NOTICE OF SETTING

This case has been SET for the following before Senior United States District Judge Sim Lake:

                                      RE-ARRAIGNMENT

Date:          September 30, 2022

Time:          11:30 a.m.

Place:         515 Rusk
               Courtroom 9-B, 9th Floor
               Houston, Texas

To:            All Parties of Record
               DEFENDANT MUST BE PRESENT


For inquiries regarding the above setting please contact:


Sheila R. Anderson,
Case Manager for
Senior United States District Judge Sim Lake


sheila_r_anderson@txs.uscourts.gov

September 28, 2022
